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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                        Plaintiffs,
                                                    No. 17-cv-1154-EGS
                v.

 DONALD J. TRUMP, in his official
 capacity as President of the United States,

                        Defendant.



            DEFENDANT’S NOTICE OF WITHDRAWAL OF DOCKET NO. 88

       Undersigned counsel for Defendant respectfully notifies the Court that Docket No. 88

was filed in error and should be withdrawn. Undersigned counsel will file a corrected version

shortly.

Dated: July 8, 2019                             Respectfully submitted,

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                                                   /s/ Jean Lin
                                                   JEAN LIN
                                                   Special Counsel
                                                   JAMES R. POWERS
                                                   BRADLEY P. HUMPHREYS

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 8, 2019, I electronically filed a copy of the foregoing. Notice

of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.
                                                     /s/ Jean Lin
                                                     JEAN LIN
